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B1040(FORM 1040)(12/15)


                                                                                                        ADVERSARY PROCEEDING NUMBER
                ADVERSARY PROCEEDING COVER SHEET                                                        (Court Use Only)
                              (Instructions on Reverse)

 PLAINTIFFS                                                                         DEFENDANTS


Jeffrey Kiser, Patricia KIser & Martha Pittson                                     CHRISTOPHER D. DOUGHERPC & NEREIDA I. DOUGHERTY




 ATTORNEYS(Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)
Christian McLaughlin, Esq                                                         Thomas S. Engel, ESQ.
701 Palomar Airport Rd., Ste. 300                                                 Law Office of Engel & Miller
Carlsbad, CA 92011                                                                964 Fifth Avenue, Suite 400
                                                                                  San Diego, CA92101

 f^TY(Check One Box Only)                                                          ,E/LRTY(Check One Box Only)
      Debtor                      Q U.S.Trustee/Bankruptcy Admin                       Debtor            □ U.S. Trustee/Banknjptcy Admin
      Creditor                    Q Other                                                Creditor                     Q      Other
      Trustee                                                                            Trustee

 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVEDt^^                              _
Breach of Fiduciary Duty;Traud-Mlsrepresentatlon; Unfair Business Practices; Financial Elder Abuse; Defalcation; 11 USC §523(a)(2)(A),
11 USC §523(a)(4), 11 USC §523(a)(6)




                                                                           NATURE OF SUIT
               (Number up to five (S) lioxes starting with lead cause of action as 1. first alternative cause as 2. second altemative cause as 3. etfc)
      FRBP 7001(1) - Recovery of Money/Property                                             FRBP 7001(6) - DIschargaability (continued)
      11 - Recovery of money/property - § 542 turnover of property                          61 • Dischargeablllty - § 523(a)(5), domestic support
      12 - Recovery of money/property - § 547 preference                                    68 - Olschargeablti^ • § 523(a)(6), willful and malldous injury
      13- Recovery of money/property - § 548 fraudulent transfer                            63 - Dlschargeablli^ - § 523(a)(8), student loan
  ✓   14 - Recovery of money/property • other                                               64 - Dlschargeablli^ - § 523(a)(15), divorce or separation obligation
                                                                                                  (other than domestic support)
      FRBP 7001(2) - Validity, Priority or Extent of Uen                                    65    Dischargeabllity - other
 □    21 - Validity, priority or extent of lien or other interest in property

      FRBP 7001(3) - Approval of Sale of Property
                                                                                    BFR     FRBP 7001(7) - Injuncthre Relief
                                                                                                  injunctive relief - reinstatement of stay
 □    31 • Approval of sale of property of estate and of co^wner • § 363(h)               s       Injunctive relief • other

      FRBP 7001(4) - ObJeetionfRevocation of Discharge                              I I FRBP 7001(8) Subordination of Claim or Interest
 □    41 - Objection / revocation of discharge - § 727(c),(d),(e)                   I   I 81 - Subordination of daim or Interest

      FRBP 7001(5) - Revocation of Confirmation                                     I—I FRBP 7001(9) Declaratory Judgment
 □    51 - Revocation of confirmation                                               I I 91 - Dedarat^ judgment
      FRBP 7001(6) - Dischargeablllty                                               I—I FRBP 7001(10) Determination of Removed Action
      68 - Dischargeabllity - § S23(a)(1),(14),(14A) priority tax claims            I I 01 - Determination of removed claim or cause

 s
      62 - Disohargeablll^ - § 523(a)(2), false pretenses, false
           representation, actual fraud
      67 - Dischargeabliity - § 523(a)(4), fraud as fiduciary, embezziemenL
                                                                                    BotherSS-SlPA Case - 15 U.S.C. §§ 78aaa ef.seq.
           larceny                                                                        02 - Other (e.g. other actions that would have been brought in state
                           (continued next column)                                             court If unrelated to bankruptcy case)

J7L   Check if this case involves a substantive issue of state law                  |~| Check if this is asserted to be a dass action under FRCP 23
JZL   Check if a lurv trial is demanded in complaint                                 Demands 425000.00

                        pre-judgment interest, disgorgement of fiinds, punishment damages, legal fees and costs, non-dischaigeable order




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                                  BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
  NAME OF DEBTOR                                                                    BANKRUPTCY CASE NO.

 CHRISTOPHER D. DOUGHERTY & NEREIDA1. DOUGHERTY                                    18-06051-LT11

                                                   DIVISIONAL OFFICE                NAME OF JUDGE

                                                                                   Hon. Laura Taylor

                                              RELATED ADVERSARY PROCEEDING (IF AMY)
  PLAINTIFF                                        DEFENDANT                                     ADVERSARY PROCEEDING NO.




  DISTRICT IN WHICH ADVERSARY IS PENDING           DIVISIONAL OFFICE                NAME OF JUDGE




  SIGNATURE C^TTORNEY;^ PLAINTIFR,,,,.—'


  DATE                             PRINT NAME OF ATTORNEY(OR PLAINTIFF)
 02/19/2019                       Christian McLaughlin



                                                         INSTRUCTIONS

    The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of aii of the
property of the debtor, wherever that properly is located. Because the bankruptcy estate is so extensive and the jurisdiction of the
court so broad, there may be lawsuits over the property or property rights of the estate. There also may be lawsuits concerning
the debtor's discharge, if such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.
    A party filing an adversary proceeding must also complete and file Form 1040,the Adversary Proceeding Cover Sheet
unless the party files the adversary proceeding electronically through the court's Case Management/Electronic Case Filing
system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When completed, the cover
sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to process the
adversary proceeding and prepare required statistical reports on court activity.

   The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other
papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which Is largely self-explanatory,
must be completed by the plalntlfrs attorney(or by the plaintiff if the plaintiff Is not represented by an attorney). A separate cover
sheet must be submitted to the clerk for each complaint filed.
Plaintiff and Defendants. Give the names of the plaintiff and the defendants exactly as they appear on the complainL
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the defendants.

Demand. Enter the dollar amount being demanded In the complaint.

Signature. This cover sheet must be signed by the attorney of record In the box on the second page of the form. If the plaintiff Is
represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an attorney, the
plaintiff must sign.




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      LEGAL OBJECTIVE
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      701 Palomar Airport Road, Ste. 300
      Carlsbad, CA 92011
 3
      Telephone:(760)431-2200
 4
      Facsimile: (760)431-2244
      Attorneys for Creditor: janice leitner
 5


 6
                           UNITED STATES BANKRUPTCY COURT
 7
                           SOUTHERN DISTRICT OF CALIFORNIA
 8

      In Re;                                             CASE#: 18-06051-LTll
 9

      CHRISTOPHER D.DOUGHERTY &                          AP#:
 10


      NEREIDA I. DOUGHERTY                               COMPLAINT FOR:
 11


 12
                                                         1) Breach of Fiduciary Duty
                  Debtors                                2) Fraud-Misrepresentation
 13
                                                         3) Unfair Business Practices
                                                         4)Financial Elder Abuse
      JEFFREY KISER;PATRICIA KISER;                      5)Defalcation
 14


 15   Estate of MARTHA PITTSON,                          -11 use §523(a)(2)(A)
                                                         -11 use §523(a)(4)
 16                           PlaintifTs,                -11 use §523(a)(6)
 17
      V
 18
      CHRISTOPHER D.DOUGHERTY &
 19

      NEREIDA I. DOUGHERTY
 20


 21                          Defendants.

 22

                                        ADVERSARY COMPLAINT
 23


 24
          Plaintiffs Jeffrey Kiser, Patricia Kiser and The Estate of Martha Pittson ("Plaintiffs"), by and
 25
      through their cotmsel Christian McLaughlin, hereby bring this Adversarial Complaint against
 26
      Christopher Dougherty and Nereida Dougherty ("Debtors"). Plaintiffs Jeffrey Kiser and Patricia
 27


 28
      Kiser seeks ajudgment for $330,000.00, and The Estate of Martha Pittson seeks judgment for


                                               COMPLAINT
                                                     1
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